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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR312

       vs.
                                                                        ORDER
OANH T. PHAM,

                       Defendant.


       This matter is before the court on Defendant's UNOPPOSED MOTION TO CONTINUE
PRETRIAL MOTIONS DEADLINE [39]. For good cause shown, I find that the motion should
be granted. Defendant will be given an approximate 60-day extension. Pretrial Motions shall be
filed by December 26, 2018.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO CONTINUE PRETRIAL MOTIONS
DEADLINE [39] is granted. Pretrial motions shall be filed on or before December 26, 2018.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between October 22, 2018, and December 26, 2018,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       Dated this 23rd day of October, 2018.

                                                     BY THE COURT:

                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
